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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                        - - -    x
                                                             INFORMATION
 UNITED STATES OF AMERICA
                                                             18 Cr .
               - v. -

MICHAEL COHEN ,
                                                            8                         50
                    Defendant.


             - - - - - - - - - - - - - - x

              The Special Counsel charges :

                                     Background

                                   The Defendant

        1.    From in or around 2007 through in or around January 2017 ,

MICHAEL COHEN ,    the defendant ,      was an attorney and employee of a

Manhattan - based real estate company (the " Company " ) .                       COHEN held

the title of " Executive Vice President " and "Special Counsel " to

the owner of the Company (" Individual 1 " ) .

                  False Statements to the U. S . Congress

        2.     On or about January 13 ,         2017 ,      the U.S.        Senate Select

Committee on Intelligence ( " SSCI " ) announced that it would conduct

an investigation into Russian election interference and possible

links    between Russia      and    individuals      associated with political

campaigns .       On    or   about     January       25 ,    2017 ,        the    House   of

Representatives         Permanent     Select     Committee            on     Intelligence

("HPSCI " ) announced that it also was conducting an investigation
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into   Russian    election     interference         and     possible        links    between

Russia and individuals associated with political campaigns .

       3.   On or about August          28 ,     201 7 ,    COHEN caused a two - page

letter to be sent on his behalf to SSCI and HPSCI .                            The letter

addressed his efforts at the Company to pursue a branded property

in   Moscow ,   Russia    (the    " Moscow       Project " ) .       COHEN     stated     the

purpose of the letter was " to provide the Cammi ttee with additional

information      regarding     the    proposal ,"          referring    to     the    Moscow

Project .

       4.   In the letter to SSCI and HP SCI ,                    COHEN knowingly and

deliberately made the following false representations :

            a . The Moscow Project ended in January 20 1 6 and was not

                 discussed     extensively        with      others     in    the     Company.

                 " The proposal was under consideration at the [Company]

                 from September 2015 until the end of January 2016 .

                 By the end of January 2016 ,                 I   determined that         the

                 proposal was not feasible for a variety of business

                 reasons and should not be pursued further .                         Based on

                 my business determinations ,               the   [Company]         abandoned

                 the [Moscow Project] proposal .                            To the best of

                 my knowledge , [Individual l] was never in contact with

                 anyone   about      this   proposal        other    than me        on three

                 occasions .                I did not ask or brief [Individual


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       l] , or any of his family , before I made the decision

       to terminate further work on the proposal ."

   b . COHEN never agreed to travel to Russia in connection

       with the Moscow Project and "never considered" asking

       Individual 1 to travel for the project.                 "I primarily

       communicated       with       the    Moscow - based      development

       company .          through      a    U. S .   citizen    third - party

       intermediary ,     [Individual 2] .                  [ Individual 2]

       constantly asked me to travel to Moscow as part of

       his   efforts    to push      forward     the   discussion of     the

       proposal .   I   ultimately determined that the proposal

       was not feasible and never agreed to make a trip to

       Russia .           Despite overtures by [Individual 2] , I

       never considered asking             [Individual l]      to travel to

       Russia in connection with this proposal ."

   c . COHEN did not recall any Russian government response

       or contact about the Moscow Project.               " In mid - January

       2016 ,   [Individual 2]       suggested that I        send an email

       to [Russian Official l] , the Press Secretary for the

       President of Russia , since the proposal would require

       approvals within the Russian government that had not

       been issued .     Those permissions were never provided .

       I decided to abandon the proposal less than two weeks


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                  later    for   business       reasons    and   do   not   recall   any

                  response to my email ,          nor any other contacts by me

                  with [Russian Official l] or other Russian government

                  officials about the proposal ."

     5.      On or about September 19 , 2017 , COHEN was scheduled to

appear before SSCI accompanied by counsel .                      In prepared remarks

released to the public ,          COHEN stated ,       "I assume we will discuss

the rejected proposal to build a                  [Company-branded]         property in

Moscow     that   was     terminated    in January of        2016 ;   which occurred

before the Iowa caucus and months before the very first primary.

This was solely a real estate deal and nothing more .                       I was doing

my job .    I would ask that the two - page statement about the Moscow

proposal that I sent to the Committee in August be incorporated

into and attached to this transcript. "

      6.     On or about October 25 ,             2017 ,   COHEN gave testimony to

SSCI , which included testimony about the Moscow Project consistent

with his prepared remarks and his two - page statement .

      7.     In truth and in fact ,             and as COHEN well knew ,        COHEN ' s

representations about the Moscow Project he made to SSCI and HPSCI

were false and misleading .            COHEN made the false statements to (1)

minimize links between the Moscow Project and Individual 1 and (2)

give the false          impression that the Moscow Project ended before

" the Iowa caucus and .                the very first primary ," in hopes of


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limiting the ongoing Russia investigations.                             COHEN attempted to

conceal or minimize through his                     false      statements       the    following

facts :

          a . The Moscow Project was discussed multiple times within

              the Company and did not end in January 2016.                                 Instead ,

             as         late    as        approximately         June      2016 ,      COHEN       and

              Individual          2       discussed      efforts        to    obtain        Russian

             governmental approval for the Moscow Project .                                   COHEN

             discussed           the       status     and      progress       of     the     Moscow

              Project          with       Individual      1    on   more      than    the     three

              occasions          COHEN       claimed      to     the    Committee ,         and    he

             briefed           family      members       of    Individual       1     within      the

              Company about the project .

          b. COHEN agreed to travel to Russia in connection with

              the Moscow Project and took steps in contemplation of

              Individual l ' s possible travel to Russia.                              COHEN and

              Individual              2     discussed          on      multiple        occasions

              traveling to Russia to pursue the Moscow Project .

                  i .     COHEN asked Individual 1 about the possibility

                          of     Individual          1        traveling       to      Russia       in

                          connection with the Moscow Project , and asked a

                          senior          campaign       official            about     potential

                          business travel to Russia.


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         ii .   On or about May 4 , 2016 , Individual 2 wrote to

                COHEN, "I had a chat with Moscow .              ASSUMING the

                trip does happen the question is before or after

                the convention              . Obviously the pre - meeting

                trip (you only) can happen anytime you want but

                the    2       big guys where      [sic]   the question .      I

                said       I    would    confirm    and    revert ."    COHEN

                responded ,          "My    trip       before     Cleveland.

                [Individual l] once he becomes the nominee after

                the convention. "

       iii.     On or about May 5, 2016 , Individual 2 followed

                up with COHEN and wrote , "[Russian Official l]

                would like to invite you as his guest to the

                St .   Petersburg Forum which is Russia ' s             Davos

                it ' s June 16- 19.        He wants to meet there with

                you and possibly introduce you to either                    [the

                President of Russia] or [the Prime Minister of

                Russia] , as they are not sure if 1 or both will

                be there.                  He said anything you want to

                discuss including dates and subjects are on the

                table to discuss. "




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        iv .   On or about May                 6,    2016 ,       Individual           2 asked

               COHEN to confirm those dates would work for him

               to travel .          COHEN wrote back , "Works for me ."

         v.    From      on   or       about        June     9    to      June    14 ,    2016 ,

               Individual          2    sent numerous messages to COHEN

               about the travel , including forms for COHEN to

               complete.           However , on or about June 14 , 2016 ,

               COHEN met           Individual          2     in     the      lobby       of   the

               Company ' s headquarters to inform Individual 2

               he would not be traveling at that time .

   c . COHEN did recall that in or around January 2016, COHEN

       received      a    response          from       the        office         of    Russian

       Official 1, the Press Secretary for the President of

       Russia,      and spoke to a member of that office about

       the Moscow Project .

         i.    On or about              January       14 ,       2016 ,    COHEN       emailed

               Russian         Official              l's         office       asking          for

               assistance              in   connection              with         the     Moscow

               Project .       On or about January 16 ,                          2016 , COHEN

               emailed Russian Official l ' s office again , said

               he    was      trying        to       reach        another         high - level

               Russian        official ,         and       asked       for    someone         who

               spoke English to contact him .


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        ii.    On or about January 20 , 2016 , COHEN received an

               email    from the personal assistant to                     Russian

               Official 1         ("Assistant        1" ) ,    stating that      she

               had been trying to reach COHEN and requesting

               that    he   call       her   using    a       Moscow-based phone

               number she provided .

      lll .    Shortly after receiving the email , COHEN called

               Assistant 1 and spoke to her for approximately

               20 minutes.         On that call , COHEN described his

               position      at     the      Company          and    outlined    the

               proposed Moscow Project , including the Russian

               development company with which the Company had

               partnered .          COHEN      requested            assistance    in

               moving the project             forward ,        both in securing

               land to build the proposed tower and financing

               the construction .            Assistant 1 asked detailed

               questions and took notes , stating that she would

               follow up with others in Russia.

        iv .   The day after COHEN ' s           call with Assistant 1 ,

               Individual 2 contacted him , asking for a call .

               Individual 2 wrote to COHEN ,                    "It ' s about    [the

               President of Russia] they called today. "




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                                       COUNT 1
                                 (False Statements)

        8.      Paragraphs   1    through       7    of   this     Information    are   re -

alleged and incorporated by reference as if fully set forth herein.

        9.     On or about August 28 , 2017 , the defendant MICHAEL COHEN ,

in the District of Columbia and elsewhere , in a matter within the

jurisdiction of the legislative branch of the Government of the

United States ,        knowingly and willfully made a materially false ,

fictitious , and fraudulent statement and representation ,                        to wit ,

COHEN caused to be submitted a written statement to SSCI containing

material       false   statements    about          the   Moscow    Project ,    including

false        statements   about     the     timing        of     the   Moscow     Project ,

discussions with people in the Company and in Russia about the

Moscow Project ,       and contemplated travel to Russia in connection

with the Moscow Project .

             (Title 18 , United States Code , Section 1001 (a) (2) . )




                                          Special Counsel




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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK


                   UNITED STATES OF AMERICA

                             -   v.   -

                        MICHAEL COHEN,

                          Defendant.


                          INFORMATION

                           18 Cr.




                   ROBERT S . MUELLER , III
                       SPECIAL COUNSEL
